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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                            :

                               Plaintiff,            :

 v.                                                  :        Case No. : 23-CR-00032 (TNM)

VICTOR SEAN DENNISON,                                :

                               Defendant.            :



                                  NOTICE OF ASSIGNMENT

          The above captioned case has been assigned to the Assistant Federal Public Defender

Ubong Akpan as co-counsel. Please send all notices and inquiries to this attorney at the address

listed.



                                              Respectfully submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER



                                                  /S/
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